         Case 2:14-cr-00168-TOR            ECF No. 923        filed 06/29/15       PageID.4152 Page 1 of 1
O PS 8
                                                                                                               FILED IN THE
(3/15)                                                                                                     U.S. DISTRICT COURT
                                                                                                     EASTERN DISTRICT OF WASHINGTON

                              UNITED STATES DISTRICT COURT
                                                                                                      Jun 29, 2015
                                                            for                                            SEAN F. MCAVOY, CLERK


                                           Eastern District of Washington

U.S.A. vs.                    Griffith, Robin M.                        Docket No.         0980 2:14CR00168-TOR-1

                                 Petition for Action on Conditions of Pretrial Release

         COMES NOW Anne L. Sauther, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant Robin M. Griffith, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge John T. Rogers, sitting in the Court at Spokane, Washington, on the 8th day of December 2014, under
the following conditions:

Standard Condition # 9 : Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner. Defendant may not use or
possess marijuana regardless of whether Defendant has been prescribed a medical marijuana card.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #2: Robin Griffith submitted a presumptive positive urinalysis test for methamphetamine on June 16, 2015. The
test was confirmed positive by the laboratory on June 19, 2015.

  PRAYING THAT THE COURT WILL ORDER A SUMMONS AND WILL INCORPORATE THE ABOVE
          VIOLATION WITH VIOLATION(S) PREVIOUSLY REPORTED TO THE COURT
                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:        June 23, 2015
                                                                  by      s/Anne L. Sauther
                                                                          Anne L. Sauther
                                                                          U.S. Pretrial Services Officer

THE COURT ORDERS

[ ]      No Action
[X]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[X]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[X]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other
                                                                            Signature of Judicial Officer
                                                                             June 30, 2015
                                                                            Date
